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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                            EAST SAINT LOUIS DIVISION

MARION DIAGNOSTIC CENTER, LLC   )
and MARION HEALTHCARE, LLC,     )
individually and on behalf of all others
                                )
similarly situated,             )
                                )
           Plaintiffs,          )                  Case No. 3:18-cv-01059-NJR
                                )
     v.                         )
                                                    JURY TRIAL DEMANDED
                                )
BECTON, DICKINSON, AND COMPANY; )
CARDINAL HEALTH, INC.; and      )
MCKESSON MEDICAL-SURGICAL INC., )
                                )
           Defendants.          )



                      NOTICE TO COURT REGARDING
              DEMONSTRATIVE PRESENTATIONS USED AT HEARING


      Comes Now Defendant Becton, Dickinson and Company (“BD”), and for the Court’s

convenience, provides herewith a copy of the PowerPoint slides presented by Defendants during

the February 23, 2021 Hearing on Defendants’ Motions to Dismiss Plaintiff’s Second Amended

Complaint. Defendant BD’s presentation is attached hereto as Exhibit A and Defendant

McKesson Medical-Surgical Inc.’s presentation is attached hereto as Exhibit B.
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Dated: February 24, 2021

Respectfully Submitted,

 BRYAN CAVE LEIGHTON PAISNER LLP                  PAUL, WEISS, RIFKIND WHARTON &
                                                  GARRISON LLP

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                                                  Company



                                CERTIFICATE OF SERVICE

I certify that on February 24, 2021, I electronically filed the foregoing with the Clerk of Court
using the CM/ECF system, which will automatically send email notification of such filing to all
attorneys of record.


                                             /s/ Richard P. Cassetta
                                             Richard P. Cassetta
